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                                       UNITED STATES DISTRICT COURT
                                            DISTRICT OF MARYLAND


PETER J. MESSITTE                                                                       6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                          GREENBELT, MARYLAND 20770
                                                                                               301-344-0632

                                                  MEMORANDUM


       TO:             AUSA Joseph Baldwin
       FROM:           Judge Peter J. Messitte
       RE:             United States v. Brown, Crim. No. PJM 09-468
       DATE:           May 2, 2017


       The Court has received a request from Mr. Brown to have his term of supervised release terminated early.
       Mr. Brown is serving a five year term of supervised release.

       Before responding to his request, the Court would like to know the Government’s position on the matter.
       Accordingly, the Government SHALL, within thirty (30) days, submit a written response to the Court,
       copying Mr. Brown.

       Despite the informal nature of this ruling, it shall constitute an Order of the Court and the Clerk is
       directed to docket it accordingly.




                                                                                /s/
                                                                        PETER J. MESSITTE
                                                               UNITED STATES DISTRICT JUDGE
       cc:     Mr. Christopher Brown
               9400 Grand Blvd
               Apartment 1217
               Largo, MD 20774

               Court File
